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                        IN THE UNITED STATES DISTRICT COURT 

                            DISTRICT OF SOUTH CAROLINA 

                                CHARLESTON DIVISION 


Felicia Sanders, individually and as legal    )            Civil Action No. 2: 16-2356-RMG
custodianfor K.M, a minor,                    )
                                              )
                       Plaintiff,             )
                                              )                ORDER AND OPINION
       v.                                     )
                                              )
United States of America,                     )
                                              )
                       Defendant.             )
------------------------------)
       This matter is before the Court on Defendant's motion to dismiss for lack of subject-matter

jurisdiction (Dkt. No. 12) and Plaintiffs motion for jurisdictional discovery (Dkt. No. 16). For

the reasons set forth below, the Court grants Plaintiffs motion for jurisdictional discovery.

Defendant's motion to dismiss is denied without prejudice except as provided below; Defendant

may renew its motion after the completion ofjurisdictional discovery.

I.     Background

       On February 28, 2015, a City of Columbia police officer arrested Dylann Roof for

possession of Subox one, a controlled substance, without a prescription. (Dkt. No.1" 8-9.) That

arrest occurred in a portion ofthe City of Columbia that lies in Lexington County. (Dkt. No.1-I.)

Less than three months later, on April 11,2015, Roof attempted to purchase a Glock handgun from

Shooter's Choice, a federally licensed firearms dealer located in West Columbia, South Carolina.

(Dkt. No.1' 18.) Federal law prohibits federally licensed firearms dealers from selling firearms

to certain categories of persons, including, inter alia, unlawful users of controlled substances (18

u.s.C. § 922(d)(3» and persons under indictment for or convicted of a felony (18 U.S.C. §

922(d)(I». Federally licensed firearms dealers in South Carolina are required to use the National

Instant Criminal Background Check System ("NICS"), an FBI program created by the Brady


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Handgun Violence Prevention Act of 1993, to ensure firearms are sold legally. (Dkt. No. 1 ~~ 19­

23.) The NICS receives requests for background checks on potential buyers from firearms dealers,

searches databases it maintains for matching information, and provides one of three possible

responses to the dealer: (1) "Proceed," (2) "Delayed," or (3) "Denied." 28 C.F.R. § 2S.6(c)(l)(iv).

A "denied" response bars the proposed sale and a "Proceed" response permits it. A "Delayed"

response "indicates that the firearm transfer should not proceed pending receipt of a follow-up

'Proceed' response from the NICS or the expiration of three business days (exclusive of the day

on which the query is made), whichever occurs first." fd

       As required by law, Shooter's Choice initiated a background check of Roof through the

NICS. (fd    ~   24.) The Government admits that, because of Roofs recent arrest for unlawful

possession of a controlled substance (erroneously listed in the NICS as alelany drug arrest (Dkt.

No. 1 ~ 17)), NICS should have issued a "Denied" response to Shooter's Choice, preventing the

sale ofa gun to Roof. (See Dkt. No. 1-1 (FBI Director James Corney confessing error).) Instead,

the FBI, baffled by the fact that a city might incorporate land in multiple counties, failed to prevent

the sale. (See id)l

       Specifically, the assigned NICS examiner noted Roof was listed as having been arrested

on a felony drug charge, but for some reason, the Lexington County Sheriffs office was listed as

the arresting agency, not the City of Columbia Police Department. (fd) The examiner contacted

the Lexington County Sheriffs Office and she was told to check with the City of Columbia Police




1 Municipalities commonly span multiple counties and lists of multicounty municipalities are
readily available. See, e.g., List of u.s. municipalities in multiple counties, Wikipedia,
http://en.wikipedia.orgiwiki/List_oCU.S._municipalities_in_multiple_counties (listing 628
examples of multicounty municipalities, including Columbia, SC (Lexington County and Richland
County), Charleston, SC (Charleston County and Berkeley County), and North Charleston, SC
(Charleston County and Dorchester County)).


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Department. (Id) She never did that. Instead, she decided to contact the City of West Columbia

Police Department, which of course had no record of Roof s arrest. (Id) At that point, the FBI

apparently gave up its attempt to learn about Roofs purportedly felonious drug arrest, and it took

no action to prevent Roof from being allowed to purchase a handgun. (See id; Dkt. No. 12-1 at

22); see also Trial Transcript 670:21-672:1, United States v. Roof, 15-472-RMG (D.S.C. Dec. 12,

2016).

         The FBI cast aside the case, leaving it in a "Delayed" status, and so, on April 16, 2015,

Roof was permitted to purchase his Glock. (Dkt. No.1-I.) Two months later, on June 17,2015,

he used it to murder nine parishioners, and to attempt to murder three others, in an attack on Mother

Emanuel AME Church in Charleston, South Carolina. (Dkt. No. 1 ~~ 34-35.) After the attack,

the FBI researched Roofs eligibility to purchase a firearm with more ardor (see Dkt. No. 1-1) and,

on June 29, 2015, the NICS instructed Shooter's Choice not to sell the Glock to Roof. Trial

Transcript 681: 19-685 :5, United States v. Roof, 15-472-RMG (D. S.C. Dec. 12, 2016). Roof was

subsequently convicted on many capital charges and sentenced to death. Judgment, United States

v. Roof, 15-472-RMG (D.S.C. Jan. 23, 2015). Survivors of the attack and family of the slain have

brought suits alleging the failure to refuse permission for Roof to purchase the murder weapon was

a violation of non-discretionary duties imposed by the Brady Handgun Violence Prevention Act

and associated regulations, actionable as negligence under the Federal Tort Claims Act ("'FTCA").

(Dkt. No. 1 ~ 32.)

         On February 9, 2017, the Court consolidated the actions for pretrial purposes, with this

action designated as the master docket. (Dkt. No. 22.) The Government moves to dismiss for lack




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of subject-matter jurisdiction, arguing that the FTC A bars Plaintiffs2 claims under the

discretionary-function and misrepresentation exceptions and that Plaintiffs' claims are not

actionable under South Carolina law. (Dkt. No. 12.) Plaintiffs separately move for jurisdictional

discovery. (Dkt. No. 16.)

II.     Legal Standard

        A motion to dismiss for lack of subject-matter jurisdiction filed pursuant to Rule 12(b)(1)

of the Federal Rules of Civil Procedure challenges the jurisdiction of a court to adjudicate the

matter before it. Arbaugh v. Y & H Corp., 546 U.S. 500,,514 (2006). A challenge to subject-

matter jurisdiction may contend either 1) that the complaint fails to allege facts sufficient to

establish subject matter jurisdiction or 2) "that the jurisdictional allegations of the complaint [are]

not true." Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982). Where the sufficiency of the

jurisdictional allegations in the complaint is challenged facially, "the facts alleged in the complaint

are taken as true, and the motion must be denied if the complaint alleges sufficient facts to invoke

subject matter jurisdiction." Kerns v. United States, 585 F.3d 187,192 (2009). If, however the

defendant contends "that the jurisdictional allegations ofthe complaint [are] not true," the plaintiff

bears the burden to prove facts establishing jurisdiction and the district court may "decide disputed

issues of fact." Id. In that case, because the plaintiffs allegations are not presumed true, "the

court should resolve the relevant factual disputes only after appropriate discovery."               24th

Senatorial Dist. Republican Comm. v, Alcorn, 820 F.3d 624, 629 (4th Cir. 2016). And where "the

jurisdictional facts and the facts central to a tort claim are inextricably intertwined," so that a

challenge to the truth of the jurisdictional facts indirectly challenges the plaintiffs claims on the



2 The Court herein uses "Plaintiffs" to refer collectively to all Plaintiffs in the consolidated actions.
Citations refer to filing in the above-captioned lead case, Sanders v. United States, Civ. No.2: 16­
2356-RMG


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merits, "the trial court should ordinarily assume jurisdiction and proceed to the intertwined merits

issues." Kerns, 585 F.3 at 193.

III.     Discussion

         The United States is immune from suit without the consent of Congress. Block v. North

Dakota ex rei. Bd. of Un/v. & Sch. Lands, 461 U.S. 273, 287 (1983). The FTCA authorizes

lawsuits against the United States for wrongful acts or omissions of federal employees acting

within the scope of their office in circumstances where a private person would be liable for similar

claims in the jurisdiction where the claim arose. 28 U .S.C. § 1346(b). Under the FTCA, the United

States cannot be held liable for actions that fall within its discretionary function, an exception

based on the premise that the judiciary should not "second guess" policy choices of the Executive

Branch through private litigation. 28 U.S.C. § 2680(a); Berkovitz ex rei. Berkovitz v. United States,

486 U.S. 531, 536-37 (1988). Nor may the United States be held liable for claims arising from

misrepresentation-whether negligent or intentional. 28 U.S.C. § 2680(h); Block v. Neal, 460 U.S.

289, 296 (1983). And governmental negligence in the enforcement of federal regulations is

actionable under the FTC A only if "the alleged breach of duty is tortious under state law," or if

"the Government had breached a duty imposed by federal law that is similar or analogous to a duty

imposed by state law." Fla. Auto Auction a/Orlando, Inc. v. United States, 74 F.3d 498,502 (4th

Cir. 1996) (internal quotation marks and citation omitted).

        The Government moves to dismiss, arguing each of those restrictions-the discretionary­

function exception, the misrepresentation exception, and the lack of a duty to Plaintiffs under state

law--deprive the Court lacks subject-matter jurisdiction over Plaintiffs' claims. For the reasons

set forth below, the Court orders jurisdictional discovery regarding the applicability of the

discretionary-function exception, to be completed by June 1, 2017, and denies the motion to

dismiss as to the discretionary-function exception without prejudice to the Government's ability


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to renew its motion after discovery. The Court also denies the motion to dismiss without prejudice

regarding a lack of a duty to Plaintiffs under theories of negligent creation of risk and negligence

per se.     The Court denies with prejudice the Government's motion to dismiss as to the

misrepresentation exception.

A. 	      Discretionary-Function Exception

          A claim falls within the discretionary-function exception if two elements are satisfied.

First, the challenged conduct must be the product of a discretionary decision in which the

governmental conduct was a matter ofjudgment or choice. Berkovitz, 486 U.S. at 536. However,

if law or policy mandated a particular course of action, the discretionary-function exception does

not apply to a deviation from the mandated course of action. Id. at 536-37 ("[T]he discretionary

function exception will not apply when a federal statute, regulation, or policy specifically

prescribes a course of action for an employee to follow. In this event, the employee has no rightful

option but to adhere to the directive."). Second, the decision must be "based on considerations of

public policy." Id. at 537. This limits the discretionary-function exception to the kinds of

judgments the exception "was designed to shield." Id. at 536. When the Government asserts that

a claim is barred by the discretionary-function exception, the plaintiff bears the burden to show

the discretionary-function exception does not apply. Welch v. United States, 409 F.3d 646, 651

(4th Cir. 2005).

          The Government argues the examiner issued a "Delayed" response to Shooter's Choice's

inquiry about Roofs proposed gun purchase because that response "was the only permitted

response under the circumstances." (Dkt. No. 12-1 at 22.) According to the Government, that fact

places the decision within the discretionary-function exception because where "'a regulation

mandates particular conduct, and the employee obeys the direction, the Government will be

protected because the action will be deemed in furtherance of the policies which led to the


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promulgation of the regulation. '" (Id. at 22-23 (quoting United States v. Gaubert, 499 U.S. 315,

324 (1991».) Plaintiffs agree that federal regulations mandated the examiner's response, but they

of course argue the mandated response was "Denied."

        Plaintiffs also argue the Government was negligent in maintaining the integrity ofthe NICS

databases, in violation of certain mandatory regulations. (See Dkt. No. 15 at 20-21.) Plaintiffs'

statement that the FBI "has no discretion with regards to the maintenance of its databases" seems

rather unlikely. (Dkt. No. 15 at 20.) Likewise, the Government's argument that the creation,

maintenance, indexing, and management of databases is discretionary per se also seems

overreaching. (Dkt. No. 12-1 at 23-25.) But the Court must adjudicate Plaintiffs' claims, not

speculate about them. The legal standard is whether the challenged conduct was the product of a

discretionary decision in which the governmental conduct was a matter of judgment based on

considerations ofpublic policy. Whether the challenged database-maintenance conduct meets that

standard is a question of fact to be decided on careful review of a complete record.

       The Government's discretionary-function arguments are challenges to the truth of

allegations establishing subject-matter jurisdiction. Whether the examiner should have, or could

have, acted differently under the "circumstances" is a disputed jurisdictional fact, as is the

challenge to the FBI's database-maintenance conduct. The Court will not decide disputed facts

without a complete record developed through appropriate discovery. See 24th Senatorial Dist.

Republican Comm., 820 F.3d at 629.          The Court therefore grants Plaintiffs' motion for

jurisdictional discovery3 and orders discovery regarding (1) the background check on Dylann Roof



3 Plaintiffs move for jurisdictional discovery only regarding the discretionary-function exception.
(Dkt. No. 16-1 at 3.) In opposition, the Government argues (1) the need for discovery is mooted
by independent bases for dismissal, (2) discovery is unnecessary because some other cases have
been dismissed under the discretionary-function exception without discovery, and (3) discovery is
futile because "the decision as to whether Roof was disqualified by federal law from receiving a


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initiated in April 2015, and (2) the policies, protocols, and procedures governing maintenance of

data used for that background check. Jurisdictional discovery shall be completed by June 1,2017.

The Government may renew its discretionary-function exception arguments after discovery.

B. 	     Misrepresentation Exception

         The FTCA's waiver of immunity "shall not apply to ... [a]ny claim arising out of assault,

battery, false imprisonment, false arrest, malicious prosecution, abuse of process, libel, slander,

misrepresentation, deceit, or interference with contract rights." 28 U.S.C. § 2680(h) (emphasis

added). The exception for misrepresentation encompasses claims within "the traditional and

commonly understood legal definition of the tort of 'negligent misrepresentation,'" in addition to

claims for intentional misrepresentation. United States v. Neustadt, 366 U.S. 696, 702 (1961).

The "essence of an action for misrepresentation, whether negligent or intentional, is the

communication of misinformation on which the recipient relies." Block, 460 U.S. at 289. The

exception applies where damages are caused by the Government's alleged breach ofa "duty to use

due care in obtaining and communicating information upon which that party may reasonably be

expected to rely," rather than the breach of any separate, distinct statutory duty. Id. at 708-09; see

also Chang-Williams v. United States, 965 F. Supp. 2d 673, 682-86 (D. Md. 2013). It does not

bar negligence claims where the duty allegedly breached is distinct from the duty to use due care

in communicating information." Block, 460 U.S. at 297.




firearm ultimately would have entailed the exercise of policy judgment." (See Dkt. No. 25.) The
Government's other asserted bases for dismissal do not moot the need for discovery because the
Court denies the motion to dismiss regarding those arguments. The Government's other two
arguments are entirely without merit. The conduct of the FBI's investigation of Roof may or may
not fall within the discretionary-function exception, but Roof was disqualified from purchasing a
firearm by mandatory federal law, not a discretionary executive policy judgment.


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         The Government argues the misrepresentation exception bars Plaintiff's claims because

"the gravamen of plaintiff's claims is the government's failure to communicate a denial to

Shooter's Choice." (Dkt. No. 12-1 at 28.) The Court finds no merit in that argument. The

gravamen of Plaintiffs' claims is not the failure to communicate information (nor is it the

communication of misinformation).       The information communicated to Shooter's Choice-a

response of "Delayed"-was factually accurate, as far as it went. The gravamen of the complaint

is the Government's failure to act to prevent a violation of federal law, as required by allegedly

mandatory procedures. Plaintiffs allege breach of a duty "distinct from any duty to use due care

in communicating information." Cj Block, 460 U.S. at 297. What is alleged is negligence in the

conduct of Roof's background check, not a failure of communication with Shooter's Choice.

"Delayed" unquestionably was an accurate description of the Government's background

investigation of Roof, but Plaintiffs allege that it should not have been an accurate description of

the Government's investigation and that, but for actionable negligence, it would not have been.

         The Court therefore denies the Government's motion to dismiss as to the misrepresentation

exception.

C. 	     Validity of Plaintiffs' Negligence Claims

         The FTCA waives the United States' immunity from claims arising from wrongful acts or

omissions of federal employees acting within the scope of their office in circumstances where a

private person would be liable for similar claims in the jurisdiction where the claim arose. 28

U.S.c. § 1346(b). Immunity from negligence claims is waived only if"the alleged breach of duty

is tortious under state law," or if "the Government had breached a duty imposed by federal law

that is similar or analogous to a duty imposed by state law." Fla. Auto Auction o/Orlando, Inc.,

74 F.3d at 502. When the acts at issue involve the performance of a uniquely governmental




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function, the FTC A waives immunity where "a private person would be responsible for similar

negligence." Id (internal quotation marks omitted).

       South Carolina's substantive law of negligence governs Plaintiffs' negligence claims. See

United States v. St. Louis Univ., 336 F.3d 294,300 (4th Cir. 2003).4 In South Carolina, plaintiffs

must show (1) a duty of care owed by the defendant to the plaintiff, (2) a breach of that duty by a

negligent act or omission, (3) damages suffered by Plaintiff, (4) which actually and proximately

resulted from the breach. Madison ex rei. Bryant v. Babcock Ctr., Inc., 638 S.E.2d 650, 656 (S.C.

2006). South Carolina law imposes no civil obligation to conduct background checks before

selling firearms and generally imposes no duty to protect others from a third party's criminal acts,

so the Government argues it had no duty under South Carolina law to protect Plaintiffs "from any

conceivable criminal act that Mr. Roof might commit" by blocking his attempt to purchase a

firearm. (Dkt. No. 12¥} at 30--31 (citing Cramer v. Baleor Prop. Mgmt., Inc., 441 S.E.2d 317,

318-19 (S.C. 1994)).)

       In response, Plaintiffs argue three theories: the Government voluntarily undertook a duty

to protect Plaintiffs from Roof, the Government negligently created the risk that Roofwould injure

Plaintiffs, and negligence per se. For the reasons described below, the Court finds Plaintiffs'

voluntarily undertaken duty theory to be implausible on its face, but finds that Plaintiffs may have

plausibly pleaded negligent creation of risk and negligence per se under South Carolina law.



4 Both parties argue the application of South Carolina law. The FTCA requires liability to be
determined "in accordance with the law of the place where the act or omission occurred." 28
U.S.C. § 1346(b)(I). The "law of the place" refers to the law, including choice-of-Iaw principles,
of the state where the negligent act or omission occurred. St. Louis Univ., 336 FJd at 300. The
negligence alleged in this case arguably occurred in West Virginia. West Virginia adopts the
traditional rule that the substantive rights between parties are determined by the law of the place
of injury-here, South Carolina. McKinney v. Fairchild Int'l, Inc., 487 S.E.2d 913, 922 (W. Va.
1997). South Carolina adopts the same rule. Lister v. NationsBank ofDel., NA., 494 S.E.2d 449,
454 (S.C. Ct. App. 1997).
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        While persons owe no general duty to protect others from third parties, South Carolina law

holds persons liable when they negligently create a foreseeable risk of harm from a third party.

Greenville Mem 'I Auditorium v. Martin, 391 S.E.2d 546, 548 (S.C. 1990). In South Carolina,

       [t]he law is well settled that in order to establish liability it is not necessary that the
       person charged with negligence should have contemplated the particular event
       which occurred. It is sufficient that he should have foreseen that his negligence
       would probably cause injury to something or someone. He may be held liable for
       anything which appears to have been a natural and probable consequence of his
       negligence. If the actor's conduct is a substantial factor in the harm to another, the
       fact that he neither foresaw nor should have foreseen the extent of harm or the
       manner in which it occurred does not negative his liability.

Childers v. Gas Lines, Inc., 149 S.E.2d 761, 765 (S.C. 1966) (citations omitted).

       Plaintiffs allege, in effect, that negligently failing to prevent Roof from purchasing his

Glock was a substantial factor in the harm suffered by the victims of Roofs attack on Mother

Emanuel using that same Glock. That allegation appears, at first glance, to be sufficiently plausible

at least to survive a motion to dismiss. See Houck v. Substitute Tr. Servs., Inc., 791 F.3d 473,484

(4th Cir. 2015) ("To survive a motion to dismiss, a plaintiff need not demonstrate that her right to

relief is probable or that alternative explanations are less likely; rather, she must merely advance

her claim 'across the line from conceivable to plausible.' If her explanation is plausible, her

complaint survives ... regardless of whether there is a more plausible alternative explanation.").

The Court therefore denies the motion to dismiss. The parties' briefing on negligent creation of

risk, however, is inadequate. (See, e.g., Dkt No. 15 at 29 (Plaintiffs providing one paragraph on

the issue, which discusses one case); Dkt. Nos. 12 & 24 (Government not addressing issue).) The

Court therefore denies the motion to dismiss without prejudice to the Government's ability to

renew its motion with regard to negligent creation of risk, after jurisdictional discovery.

       Another exception to the general rule of no general duty to protect others from third parties

arises when a defendant voluntarily assumes a duty to do so. Crowley v. Spivey, 329 S.E.2d 774,



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780 (S.C. Ct. App. 1985) ("[O]ne who assumes to act, even though under no obligation to do so,

may become subject to the duty to act with due care."). Plaintiffs argue the FBI voluntarily

assumed the duty to screen prospective gun purchasers and so the Government therefore can be

held liable for negligence in background checks on prospective gun purchasers. (Dkt. No. 15 at

33-34.) But Plaintiffs' argument is implausible on its face. The FBI performs background checks

for firearms sales because Congress requires the FBI to do so. See Brady Handgun Violence

Prevention Act of 1993 § 103, Pub. L. 103-159, 107 Stat. 1536, 1541-43 (1993). The FBI did not

voluntarily decide to perform background checks any more than the Bureau of Prisons voluntarily

decided to incarcerate criminals sentenced to prison.

       That the FBI did not volunteer to conduct background checks for gun purchases, but instead

is required by law to do so, suggests another theory of liability. Under South Carolina law, a

statute may create a duty of care if the plaintiff is in the class of persons the statute intends to

protect and the plaintiffs injury is in the class ofharms the statute intends to prevent. See Rayfield

v. S.C Dep't ojeorrs., 374 S.E.2d 910, 913-15 (S.C. Ct. App. 1988). In such cases, violation of

the statute satisfies the breach of duty element in a negligence action, and negligence per se is

established when the plaintiff shows (1) that the defendant breached a standard of conduct

established by statute and (2) that the breach proximately caused damage to the plaintiff. Id.

Further, under South Carolina law violation of a regulation may also constitute negligence per se

if the regulation has the force of law. Norton v. Opening Break ojAiken, Inc., 443 S.E.2d 406,

408 (S.C. Ct. App. 1994) (collecting cases).

       Plaintiffs allege the Government breached a standard of conduct imposed by federal

statutes and regulations, including 18 U.S.C. § 922 and 28 C.F.R. pt. 25. (Dkt. No. 1 ~~ 53-61.)

Moreover, it appears at least plausible that those federal statutes and regulations prohibiting certain




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persons from obtaining firearms are intended to protect citizens from being shot by those

proscribed persons.

         The Government, however, argues South Carolina's "public duty rule" prevents Plaintiffs

from asserting negligence per se claims. (Dkt. No. 24 at 15.) "The 'public duty' rule presumes

statutes which create or define the duties of a public office have the essential purpose of providing

for the structure and operation of government or for securing the general welfare and safety of the

public. Such statutes create no duty of care towards individual members of the general public."

Summers v. Harrison Const., 381 S.E.2d 493, 496 (S.c. Ct. App. 1989). Statutes create a duty of

care from which a negligence action against public agencies or officers can arise only if

         (1) an essential purpose of the statute is to protect against a particular kind of harm;
         (2) the statute, either directly or indirectly, imposes on a specific public officer a
         duty to guard against or not cause that harm; (3) the class of persons the statute
         intends to protect is identifiable before the fact; (4) the plaintiff is a person within
         the protected class; (5) the public officer knows or has reason to know of the
         likelihood of harm to members of the class if he fails to do his duty; and (6) the
         officer is given sufficient authority to act in the circumstances or he undertakes to
         act in the exercise of his office.

Id.

        Nonetheless, because Plaintiffs plausibly allege the Government breached a standard of

conduct imposed by federal statutes and regulations, which are plausibly intended to protect

Plaintiffs from the type of harms they suffered, the Court denies the Government's motion to

dismiss. The parties, however, have not briefed the issues ofwhether Plaintiffs are within the class

of persons those statutes and regulations intend to protect, or whether their injuries are within the

class of harms those statutes and regulations intend to prevent. Nor have they briefed the public

duty rule, beyond a single paragraph at the end of the Government's reply brief. (Dkt. No. 25 at

15.) The Court therefore denies the motion to dismiss without prejudice to the Government's

ability to renew its motion with regard to negligence per se, after jurisdictional discovery.



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IV. 	   Conclusion

        For the foregoing reasons, the Court GRANTS Plaintiffs motion for jurisdictional

discovery (Dkt. No. 16) and DENIES Defendant's motion to dismiss (Dkt. No. 12). Defendant's

motion to dismiss is DENIED WITHOUT PREJUDICE as to the discretionary-function

exception, the argument that Plaintiffs' claims are not actionable under South Carolina law under

theories of negligent creation ofrisk and negligence per se, and is DENIED WITH PREJUDICE

as to the misrepresentation exception.     The Court ORDERS jurisdictional discovery to be

completed by June 1, 2017.        Defendant may renew its motion to dismiss regarding the

discretionary-function exception, negligent creation of risk, and negligence per se after the close

of jurisdictional discovery. Pursuant to the Court's consolidation order, the Clerk is directed to

terminate all pending motions in related cases.

        AND IT IS SO ORDERED.




                                                         Richard M     G gel
                                                         United States Dist ict Court Judge

March ~, 2017
Charleston, South Carolina




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